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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  v.                                               §                       CASE NO. 5:21-cr-14 (8)
                                                   §
  ALLAN HERNANDEZ                                  §

                ORDER ADOPTING THE REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

            The above-styled matter was referred to the Honorable J. Boone Baxter, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

  Procedure. Judge Baxter conducted a hearing in the form and manner prescribed by Federal Rule

  of Criminal Procedure 11 and issued a Report and Recommendation (Docket No. 398). Judge

  Baxter recommended that the Court accept Defendant’s guilty plea and conditionally approve the

  plea agreement. He further recommended that the Court finally adjudge Defendant as guilty of

  Count 1 of the Second Superseding Indictment. Count 1 of the Second Superseding Indictment

  charges a violation of 21 U.S.C. § 846 conspiracy to distribute and possess with intent to distribute

  fifty grams or more of methamphetamine or five hundred grams or more of a mixture of a

  substance containing methamphetamine. The Court is of the opinion that the Report and

  Recommendation should be accepted. It is accordingly ORDERED that the Report and

  Recommendation of the United States Magistrate Judge (Docket No. 398) is ADOPTED. It is

  further

            ORDERED that the Defendant’s guilty plea is accepted and approved by the Court.

  Further, the plea agreement is approved by the Court, conditioned upon a review of the presentence

  report. It is finally

            ORDERED that, pursuant to the Defendant’s amended plea agreement, the Court finds the


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  Defendant GUILTY of Count 1 of the Second Superseding Indictment in the above-numbered

  cause and enters a JUDGMENT OF GUILTY against the Defendant as to Count 1 of the Second

  Superseding Indictment.

       SIGNED this 26th day of June, 2024.



                                                    ____________________________________
                                                    ROBERT W. SCHROEDER III
                                                    UNITED STATES DISTRICT JUDGE




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